    Case 2:25-cv-02284-AYS                         Document 3        Filed 04/25/25      Page 1 of 1 PageID #: 21


AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                  for the

                                                      Eastern District of New York

                                                                    )
 FRANCISO MARTINEZ, WASHINGTON MACIAS,
DAVID ALFARO and JORGE JANDRES on behalf of                         )
     themselves and others similarly situated,                      )
                                                                    )
                            Plainti.ff(s)
                                                                    )
                                                                    )
                                 V.                                         Civil Action No. 2:25-cv-02284-AYS
                                                                    )
    ROBERT MONTGOMERY, and DEALER PREP                              )
              SERVICES INC.,                                        )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                            ROBERT MONTGOMERY, 77 Westminster Road , Garden City, NY 11530

                                            DEALER PREP SERVICES INC., 77 Westminster Road, Garden City, NY 11530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Marcus Monteiro, Esq.
               •                 Monteiro & Fishman LLP
                                 91 N. Franklin Street, Suite 108
                                 Hempstead, NY 11550
                                 (516) 280-4600


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT


          4/25/2025
Date: _ _ _  __ _ _ __
                                                                                        Signature o/erkorDe
